      Case 17-10879-amc        Doc 45-1 Filed 02/05/19 Entered 02/05/19 17:46:19                     Desc
                                    Exhibit Notice Page 1 of 1
                                        KML LAW GROUP, P.C.
                                  THE BNY INDEPENDENCE CENTER
                                   701 MARKET STREET SUITE– 5000
                                       PHILADELPHIA, PA 19106
                                         www.kmllawgroup.com

                                            December 24, 2018

Brad J. Sadek
1315 Walnut Street
Suite 502
Philadelphia, PA 19107

RE:      NOTICE OF DEFAULT UNDER COURT APPROVED STIPULATION
         Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust, not individually but as trustee for
         Pretium Mortgage Acquisition Trust vs. David A. Jerri
         Case No. 17-10879 AMC
         Last 4 Digits of Loan No. 2990

Dear Sir or Madam:

      Please be advised that your client is in default under the terms of the Stipulation that was approved by
the Bankruptcy Court. Under the terms of the Stipulation, your client must cure the default within fifteen (15)
days of this Notice. The amount in default is itemized as follows;
   Regular mortgage payments for the months of October 2018 through December 2018, in the amount of
         $1,707.07 per month;
   Less Debtor Suspense credit in the amount of $508.94;

               The total due is $4,612.27 and must be received on or before January 8, 2019.

      The monthly payment for January, will be due on the 1st day of the month and is not included in the
       figure listed above.

NOTICE TO BORROWER: Please call your attorney with any questions. We are not permitted under the
Rules of Professional Responsibility to speak with you directly.

      As set forth in the Stipulation, only certified funds, money order, or a check from an attorney trust
account will be accepted to cure the default. We will not accept cash or personal checks. If you have proof
that payments were made, fax that proof to our office at 215-627-7734. If payment is not made, we will file a
Certification with the Court and request relief from the Bankruptcy stay. Due to heightened security in our
office complex, you MUST call our office at 215-627-1322 and schedule an appointment if you intend to pay
the amount in person, please reference our file number 170714BK.

                                                 KML Law Group, P.C.
                                                    /s/ Rebecca A. Solarz, Esquire
                                                      Rebecca A. Solarz, Esquire
                                                      KML Law Group, P.C.
                                                      BNY Mellon Independence Center
                                                      701 Market Street, Suite 5000
                                                      Philadelphia, PA 19106
                                                      412-430-3594




cc:      David A. Jerri
